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                     1 BOIES SCHILLER FLEXNER LLP
                     2 David K. Willingham SBN 198874
                        dwillingham@bsfllp.com
                     3 725 S Figueroa Street
                     4 Los Angeles, California 90017
                       31st Floor
                     5 Phone: (213) 629-9040
                     6 Fax: (213) 629-9022
                     7 Amy L. Neuhardt (pro hac vice)            Lee S. Wolosky (pro hac vice)
L L P




                     8  aneuhardt@bsfllp.com                      lwolosky@bsfllp.com
                       1401 New York Avenue, NW                  Robert J. Dwyer (pro hac vice)
F L E X N E R




                     9 Washington, DC 20005                       rdwyer@bsfllp.com
                    10 Phone: (202) 237-2727                     575 Lexington Ave., 7th Floor
                       Fax: (202) 237-6131                       New York, NY 10022
                    11                                           Phone: (212) 446-2300
S C H I L L E R




                    12                                           Fax: (212) 446-2350
                         Counsel for Plaintiffs
                    13
                    14                  UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                    15
B O I E S




                    16 BROIDY CAPITAL MANAGEMENT                Case No. 18-cv-02421-JFW
                       LLC and ELLIOTT BROIDY,
                    17                                          DECLARATION OF LEE S.
                    18           Plaintiffs,                    WOLOSKY IN SUPPORT OF
                                                                OPPOSITION TO DEFENDANT
                    19         v.                               STATE OF QATAR’S MOTION TO
                    20                                          STAY DISCOVERY PENDING
                       STATE OF QATAR, STONINGTON               RESOLUTION OF DEFENDANT
                    21 STRATEGIES LLC, NICOLAS D.               STATE OF QATAR’S MOTION TO
                    22 MUZIN, GLOBAL RISK ADVISORS              DISMISS
                       LLC, KEVIN CHALKER, DAVID
                    23 MARK POWELL, MOHAMMED BIN                [Memorandum of Points and Authorities
                                                                and Proposed Order filed concurrently
                    24 HAMAD BIN KHALIFA AL THANI,              herewith]
                       AHMED AL-RUMAIHI, and DOES 1-
                    25 10,                                      The Honorable John F. Walter
                    26                                          Date: July 9, 2018
                                 Defendants.
                    27                                          Time: 1:30 p.m.
                                                                Ctrm.: 7A
                    28

                                                                          DECLARATION OF LEE S. WOLOSKY
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                     1                    DECLARATION OF LEE S. WOLOSKY
                     2          I, Lee S. Wolosky, hereby declare as follows:
                     3         1.     I am a Partner at the law firm of Boies Schiller Flexner LLP. I
                     4 represent Plaintiffs in this action.
                     5 Third-Party Discovery Results
                     6         1.     Plaintiffs have engaged in third-party discovery aimed at, among
                     7 other things, obtaining admissible forensic evidence relating to the attack
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                     8 against Plaintiffs and the exfiltration of emails, documents, and data belonging
F L E X N E R




                     9 to them (collectively, “Stolen Data”). This forensic evidence relating to the
                    10 attack and the attackers will be used to prove attribution at trial.
                    11         2.     Among other things, Plaintiffs been able to ascertain user
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                    12 information associated with some of the many malicious Internet Protocol
                    13 (“IP”) addresses used in the attack and the exfiltration of Stolen Data.
                    14         3.     Plaintiffs have also been able to obtain email addresses used by
                    15 those involved in the attack and IP addresses associated with those email
B O I E S




                    16 addresses.
                    17         4.     Plaintiffs have identified numerous Internet Service Providers
                    18 (“ISPs”) used in the attacks against Plaintiffs. Plaintiffs’ efforts have
                    19 identified the use of images, stored on a cloud storage website, that were used
                    20 to insert trademarked logos belonging to Google and Apple into a fictitious
                    21 email that purported to be an authentic security alert. These fabricated email
                    22 news alerts were sent initially to Plaintiff Broidy’s wife, his executive
                    23 assistant, and one of his key associates. A third-party subpoena revealed IP
                    24 addresses, which showed the ISP as well as the geo-location of the IP address
                    25 from which the attackers appear to have uploaded images.
                    26         5.     Plaintiffs have similarly obtained IP addresses of those
                    27 responsible for other tactics used in the attacks, such as shortened URLs
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                                                                                  DECLARATION OF LEE S. WOLOSKY
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                     1 created using services provided by a United States company, which prevented
                     2 victims of the spearphishing phase of the attack from learning they were being
                     3 directed to malicious websites.
                     4        6.     Plaintiffs’ third-party discovery efforts have uncovered specific
                     5 IP addresses used in the attack on Plaintiffs, including IP addresses connected
                     6 to the United States.
                     7        7.     The hackers used a series of virtual private networks (“VPNs”) to
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                     8 mask their true locations. The hackers also deleted traces of their hacking in
F L E X N E R




                     9 their targets’ mailboxes and servers, and used anonymous or “throwaway”
                    10 email accounts to distribute stolen materials.
                    11        8.     Forensic experts have traced the attack and exfiltration of data to
S C H I L L E R




                    12 an IP address in Doha, Qatar, assigned to an ISP that is majority-owned by the
                    13 State of Qatar. Plaintiffs have prepare for issuance a letter rogatory seeking
                    14 the production of relevant subscriber and Internet activity records from the
                    15 ISP and are in the process of meeting and conferring with Defendants
B O I E S




                    16 concerning it pursuant to LR 37-1. Attached as Exhibit A is a copy of the
                    17 proposed letter rogatory to Ooredoo, Q.S.V. Plaintiffs anticipate submitting to
                    18 the Court.
                    19        9.     The attackers viewed and downloaded thousands of emails from
                    20 the Los Angeles server of Plaintiff Broidy Capital Management LLC.
                    21        10.    Furthermore, the electronic data downloaded from Plaintiffs’
                    22 server was assembled into PDF-formatted documents that were created in
                    23 North American time zones, before being disseminated to U.S. media
                    24 organizations.
                    25        11.    Phone records obtained in discovery reveal numerous pre-
                    26 publication contacts between Defendant Muzin and reporters who
                    27 subsequently published stories based on emails and documents that had been
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                                                                                 DECLARATION OF LEE S. WOLOSKY
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                     1 stolen from Plaintiffs during the course of the attack. Copies of these records
                     2 are voluminous, and can be provided upon the Court’s request.1
                     3         12.    For example, Defendant Muzin also spoke to Tom LoBianco on
                     4 more than a dozen occasions between March 12, 2018 and May 8, 2018,
                     5 during which time Mr. LoBianco was engaged in extensive reporting relating
                     6 to a long feature about Mr. Broidy that was based on access to the Stolen
                     7 Data.
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                     8         13.    On May 21, 2018, Mr. LoBianco published the long feature that
F L E X N E R




                     9 relied on Plaintiffs’ stolen documents.
                    10         14.    Muzin’s phone records also show that he communicated with
                    11 Ben Wieder of McClatchy twice, once on January 25, 2018 and again on
S C H I L L E R




                    12 January 26—after the cyberattackers successfully gained access to the BCM
                    13 computer network—for more than twenty-two minutes. On February 7, 2018,
                    14 Wieder published his first of several articles regarding Plaintiffs.
                    15         15.    Muzin’s FARA records also show that Muzin had numerous
B O I E S




                    16 telephone conversations related to Broidy with David Voreacos of Bloomberg
                    17 News between February 2018 and March 2018. Voreacos also reported on
                    18 Broidy.
                    19
                    20
                         1
                    21     Certain of these calls were belatedly disclosed in Defendant Stonington
                         Strategies LLC’s (“Stonington”) Supplemental FARA disclosure, which,
                    22
                         although due on March 3, 2018, was not filed until May 22, 2018, two days
                    23   before the First Amended Complaint was due to be filed in this action, and
                         seven days before the production to the Plaintiffs of the subpoenaed phone
                    24
                         records related to Muzin. Defendant Muzin made the following disclosure in
                    25   his late FARA supplement relating to these calls: “The contacts marked with
                    26   an asterisk were not conducted on behalf of the client, Qatar, or as part of the
                         FARA engagement, but are included for avoidance of doubt.”
                    27   https://www.fara.gov/docs/6458-Supplemental-Statement-20180522-1.pdf.
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                                                                                  DECLARATION OF LEE S. WOLOSKY
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                     1         16.   Defendant State of Qatar has not opposed any of the third-party
                     2 subpoenas issued to ISP providers or phone companies.
                     3 Concerns with Destruction of Relevant Materials
                     4         17.   In responses to various third-party subpoenas served, Plaintiffs
                     5 have received responses indicating that potentially relevant data has been
                     6 wiped, written over, or deleted.
                     7         18.   The data required from various third-parties involves electronic
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                     8 data that is ordinarily overwritten or automatically deleted.
F L E X N E R




                     9         19.   Further, certain non-parties have already refused to commit to the
                    10 preservation of documents.
                    11 Plaintiffs’ Motion to Compel And Defendants’ Interference with Discovery
S C H I L L E R




                    12         20.   To date, Plaintiffs have brought one motion to compel non-
                    13 compliance with a third-party subpoena.
                    14         21.   That subpoena, issued to Joseph Allaham, sought, among other
                    15 things, “communications regarding Plaintiffs with the State of Qatar or with
B O I E S




                    16 its officials, agents, or any persons acting on its behalf, including but not
                    17 limited to Nicolas D. Muzin.” See Exh. B.
                    18         22.   Discovery against Mr. Allaham was expressly permitted to occur
                    19 during the limited stay of discovery under the terms of the Court’s May 7
                    20 Order. ECF No. 46 ¶ 3.
                    21         23.   On June 6, 2018, the Southern District of New York granted the
                    22 motion to compel and ordered Mr. Allaham to comply with the subpoena
                    23 within 72 hours, noting the “gamesmanship” by Defendants and Mr. Allaham
                    24 in seeking to “string along” Plaintiffs. Attached as Exhibit C is a transcript of
                    25 the hearing for that motion.
                    26         24.   On June 7, Joseph Allaham then disclosed a previously hidden
                    27 business relationship with the Stonington Defendants and Qatar, announced
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                                                                                  DECLARATION OF LEE S. WOLOSKY
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                     1 the termination of that relationship, and disclosed that he would belatedly file
                     2 a FARA registration statement regarding that relationship. See
                     3 http://www.msnbc.com/rachel-maddow-show/statement-joey-allaham-
                     4 regarding-his-relationship-qatar.
                     5        25.    Mr. Allaham’s statement also claimed that the timing of the
                     6 ending of his work for Qatar and the granting of Plaintiffs' motion to compel
                     7 was “coincidence” and that the two were “not related.”
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                     8        26.    Mr. Allaham told Politico that “Qatar enjoys portraying
F L E X N E R




                     9 themselves as the purveyor of peace in the region, but this could not be further
                    10 from the truth.” See https://www.politico.com/story/2018/06/07/qatar-persian-
                    11 gulf-630039.
S C H I L L E R




                    12        27.    On June 8, one day after Mr. Allaham announced that he was
                    13 both disclosing and severing his ties with Qatar, Plaintiffs asked for
                    14 confirmation that he would not transfer any materials in his possession to
                    15 Qatar pursuant to any purported confidentiality agreement governing their
B O I E S




                    16 relationship. See Exh. D. Plaintiffs sought such reassurances out of concern
                    17 that such a transfer would put otherwise discoverable materials out of the
                    18 reach of discovery. See id. Mr. Allaham’s counsel failed to provide the
                    19 requested assurances.
                    20        28.    On June 8, 2018, Mr. Allaham’s counsel sent my partner Robert
                    21 Dwyer an email making clear that Qatar was seeking an opportunity to review
                    22 Mr. Allaham’s discovery documents prior to Mr. Allaham producing them,
                    23 notwithstanding the Southern District of New York’s order. See Exh. E.
                    24        29.    Also on June 8, Qatar disclosed for the first time that its
                    25 registered FARA agents sub-contracted with unregistered sub-agents,
                    26 including Mr. Allaham, in a filing in the Southern District of New York
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                                                                                  DECLARATION OF LEE S. WOLOSKY
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                     1 seeking to review Mr. Allaham’s documents before he could produce those
                     2 documents to Plaintiffs. See Exh. F.
                     3        30.    On the morning of June 11, 2018, the Southern District of New
                     4 York rejected Qatar’s request that it have an opportunity to review documents
                     5 in Mr. Allaham’s possession prior to his production of those documents to
                     6 Plaintiffs and ordered that Mr. Allaham “fully comply with the subpoena
                     7 immediately.” Exh. G (emphasis in original).
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                     8        31.    Defendants Qatar, Stonington, and Muzin further appear to be in
F L E X N E R




                     9 contact with recipients of third-party subpoenas, including Google, in an effort
                    10 to encourage those recipients not to comply with the subpoenas. In fact,
                    11 documents provided from Google to Plaintiffs show that an attorney
S C H I L L E R




                    12 representing Defendants Stonington and Muzin was involved in the efforts to
                    13 convince Google not to comply with Plaintiffs’ subpoena.
                    14 Party Discovery
                    15        32.    To date, Plaintiffs have not sought any discovery from Qatar or
B O I E S




                    16 against its Embassy in Washington D.C.
                    17        33.    Plaintiffs have served requests for the production of documents
                    18 on Muzin and Stonington, as well as subpoenas on U.S. lobbyists, public
                    19 relations firms, and FARA agents in Washington D.C. who are working for
                    20 Qatar. Responses to those requests for production and subpoenas are due on
                    21 July 2, 2018.
                    22 Additional Facts and Ongoing Developments
                    23        34.    On June 6, 2018, the same day Plaintiffs moved to compel Mr.
                    24 Allaham’s compliance with the subpoena served on him, Defendant Muzin
                    25 announced on Twitter that he was severing his relationship with Qatar. See
                    26 Exh. H.
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                                                                               DECLARATION OF LEE S. WOLOSKY
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                     1         35.   At least certain of the agreements that Qatar had entered into with
                     2 its FARA-registered agents, such as Defendants Stonington and Muzin,
                     3 explicitly state that documents Qatar provides to those agents are subject to
                     4 being disclosed “as required by law.” See Exh. I.
                     5         36.   While this litigation has been pending, Plaintiffs’ materials
                     6 continue to be disseminated to news outlets, and news outlets continue to
                     7 publish reports based on those materials.
L L P




                     8         37.   A copy of the House of Lords’ decision in Shearson Lehman
F L E X N E R




                     9 Bros Inc. v. Maclaine Watson & Co Ltd. (No 2) [1988] 1 All ER 116, 124-25
                    10 (Eng.) is attached as Exhibit J.
                    11         I declare under penalty of perjury under the laws of the United States
S C H I L L E R




                    12 that the foregoing is true and correct.
                    13
                    14
                         Dated: June 11, 2018             By:    /s/ Lee S. Wolosky
                    15                                           LEE S. WOLOSKY
B O I E S




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                                                                                 DECLARATION OF LEE S. WOLOSKY
